       Case 1:18-bk-10098-MB                     Doc 152 Filed 02/14/18 Entered 02/14/18 12:21:12                                             Desc
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 Information to identify the case:
 Debtor
                   Penthouse Global Media, Inc.                                                EIN 47−2601335
                   Name


 United States Bankruptcy Court Central District of California
                                                                                               Date case filed for chapter 11 1/11/18
 Case number: 1:18−bk−10098−MB


Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/17

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                       Penthouse Global Media, Inc.


  2. All other names used in the
     last 8 years


  3. Address                                  8944 Mason Ave.
                                              Chatsworth, CA 91311

                                              Michael H Weiss                                            Contact phone 424−245−3100
  4. Debtor's attorney                        Weiss & Spees
      Name and address                        1925 Century Park E Ste 650                                Email ____________________
                                              Los Angeles, CA 90064

  5. Bankruptcy clerk's office                                                                           Hours open:
      Documents in this case may be filed                                                                9:00AM to 4:00 PM
      at this address.                        21041 Burbank Blvd,
      You may inspect all records filed in
      this case at this office or online at   Woodland Hills, CA 91367−6603                              Contact phone 855−460−9641
      www.pacer.gov.
                                                                                                         Dated: 2/14/18

  6. Meeting of creditors                     March 14, 2018 at 11:00 AM                                 Location:
      The debtor's representative must
      attend the meeting to be questioned The meeting may be continued or adjourned to a later           21041 Burbank Blvd., #100,
      under oath by the trustee and       date. If so, the date will be on the court docket.             Woodland Hills, CA 91367−6003
      creditors.
      Creditors may attend, but are not
      required to do so.                  The court, after notice and a hearing, may order that the
                                          United States trustee not convene the meeting if the
                                          debtor has filed a plan for which the debtor solicited
                                          acceptances before filing the case.

                                                                                                                                                     152/CEI
                                                                                                           For more information, see page 2 >


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Debtor Penthouse Global Media, Inc.                                                                                 Case number 1:18−bk−10098−MB


  7. Proof of claim deadline                  Deadline for filing proof of claim: Notice of deadline will be sent at a later time.

                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                              at www.uscourts.gov or any bankruptcy clerk's office.

                                              Your claim will be allowed in the amount scheduled unless:

                                                      • your claim is designated as disputed, contingent, or unliquidated;
                                                      • you file a proof of claim in a different amount; or
                                                      • you receive another notice.
                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                              must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                              You may file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                              proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                              explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                              rights, including the right to a jury trial.


  8. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                                 proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline.   Deadline for filing the complaint: 5/14/18


  9. Creditors with a foreign                 If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
     address                                  extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


  10. Filing a Chapter 11                     Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
      bankruptcy case                         court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                              trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                              business.


  11. Discharge of debts                      Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                              debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
                                              debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                              discharge under 11 U.S.C. § 1141(d)(6)(A), you must start a judicial proceeding by filing a complaint and
                                              paying the filing fee in the bankruptcy clerk's office by the deadline.


  12. Bankruptcy Fraud and                    Any questions or information relating to bankruptcy fraud or abuse should be addressed to the Fraud
      Abuse                                   Complaint Coordinator, Office of the United States Trustee, 915 Wilshire Blvd., Suite 1850, Los Angeles,
                                              CA 90017.




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